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UNITED STATES DISTRICT COURT                                                     ELECTP U:, ;c-\ ~ LY I : LED
SOUTHERN DJSTRICT OF NEW YORK                                                    DOC #:                  /-   I

                                                                                 DATE F-ILED:       :5lit /11
H. CRISTINA CHEN·OSTER; LISA PARISI; and
SHAN'NA ORLICH,
                                                                             10 Clv. 6950 (LBS) (JCI')
                                             Plaintiffs,

                           VS.                                                   ""'ft'fi 0 fleSEP] ·
                                                                               PROTECTIVE ORDER
?OLDMI;N, SACHS & CO. and THE GOLDM~ANI                                                     AND
SACHS GROUP, INC.                                                               CONFIDENTIALITY
                                                                                  AGREEMENT
                                             Defendants.




                  The parties to this Proposed Protective Order and Coni1dentiality Agreemen( (the

"Parties") are:

                  (J)      Plaintiffs H. Cristina Chen-Oster. Lisa Parisi, and Sbanna Orlich,

individually and on behalf       or all others similarly situated (the "Plaintiffs"); and
                  (2)      Defendants Go!dman. Sachs & Co. and The Goldman Sachs Group, Inc,l

("Defendants").

                  The Parties, acting through their counsel of record, hereby stipulate and agree as

follows:

         ],       All disGovery      ~hall   be used solely for the purposes of prosecuting andlor

d.:.fcnding this actiun.


1   The (Joldml:\l1 Sachs Group, Inc. ("OS Group") participates in this Proposed Protective Order
and Confidentiality Agreement without prejudice to its position that it is not an appropriate
defendant in ihis action.



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         2.       Upon a good faith determinatlon by any party or non-party from whom discovery

is sought (the "Designating Party") that any documentation or information being produced or

disclosed, whether formally or informally, contains non-public commercially sensitive,

proprietary or trade secret matter of or regarding the party, including sensitive customer

information and/or private employee information identifiable in connection with particular

individuals (e.g., social security numbers, compensation, personal contact information), the

Designating     Party     may   designate    stich document        or   thing   "CONFIDENT1AL" or

"CONFIDENT1AL             -   ATTORNEYS'       EYES       ONLY" (collectively, "CONFIDENTIAL

lNFORMAT10N"). The designation              or an   individual   documen~   or category of documents or

information as CONFIDENTIAL INFORMA nON may be challenged pursuant to                       ~   15 of this

Order.

         3.     Non-parties may invoke the protection of this Order for documents and deposition

testimony and exhibits provided in connection with this litigation, including but not limited to

documents and deposition testimony and exhibits provided in response to subpoenas served on

those third parties, and all CONFIDENTIAL lNFORMA nON of non-parties as contained in

such documents, depositions and exhibits shall be protected hereunder in the same manner as the

CONFTDENTIAL INFORMATION of the parties to this lawsuit as long as the non-party agrees

10   be bound by this Order and any subsequent amendments to this Order.

         4.     The PaJ1y who wishes to designate CONFIDENTJAL INFORMATION will do so

by marking the document or documents "CONFIDENTIAL" or "CONFIDENTIAL -­

ATTORNEYS' EYES ONLY" or, if produced inadvertently without sllch designation, by

providing written notice to the adverse Parties as soon as is practicable in connection with its

production that   Stich   documents should be marked "CONF1DENTIAL" or "CONF1DENTIAL -~

ATTORNEYS' EYES ONLY." lf CONFIDENTIAL fNFORMAT10N is used or referenced in

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a deposition or hearing, the Party who wishes to designate those portions of the transcript as

"CONFIDENTIAL" or "CONFIDENTIAL -- A'nORNEYS' EYES ONLY" will do so by

written notice to the adverse Parties within ten (l0) days ofreceipt of the written transcript from

the stenogrllphel'. If timely written notice is provided, the use at a deposition or hearing of a

document designated "CONFIDENTIAL -- ATTORNEYS' EYES ONLY" shall not modify or

diminish the efTe:ct I)fthat designation with respect to other witnesses or uses.

       5.           Wherever practicable, CONFIDENTIAL lNFORMATJON will be redacted or

segregated to allow non-confidential portions of documents to be treated as outside the scope of

this Order.

       6,           If it comes to a party or non-party's attention tbat infollnatlo11 or items that it

designated for protection do not qualify for protection at all, or do not qualify for the level of

protection initially asserted, that party or non-party must timely notify all other parties that it is

withdrawing the mistaken designation.

       7,           To safeguard the confidentiality of CONFIDENTIAL lNFORMATrON it will be

maintained    (15   set forth in this Order. or in such manner separately agreed upon by the Parties.

        8,          The Panies will not disclose CONFlDENTJAL INFORMATION that has been

marked "CONFlDENT1AL" in any manner to anyone, other than to the following individuals.

who mllst agree in writing prior to such disclosure to maintain its confidentiality by completing

and executing Exhibit A to this Order:

                    (a)     the Receiving Party or Parties and the Receiving Party or Parties' outside

                            or in-house counsel and the legal staff and employees of such counsel

                            assisting counsel in the effort to prosecute or defend this action;

                    (b)     experts or cons\lltants (including support personnel) assisting counsel in

                            the e:ffort to prosecute or defend this action;

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                          (c)   witnesses noticed, subpoenaed, designated pursuant to Fed. R. Civ. P.

                                30(b)(6), or identified to the opposing party on a trial (or hearing) witness

                                list, to testify at deposition, hearing or trial, in preparation for such

                                testimony;

                          (d)   this Court and its personr:el, including stenographic reporters;

                          (e)   any neutral person who may be selected by the Parties to preside over a

                                private mediation or arbitration;

                          (0    $tenographic reporters       <~nd   videographers responsible [or depositions taken

                                In   the case; and

                          (g)   uny other persons with the consent of the Producing Party, or by Court

                                order, subje.ct to the terms of this Order,

            9,            CONFIDENTIAL               fNFORMAT10N             marked      "CONFlDENTIAL

ATTORNEYS' EYES ONtY" is subject                        to   the same disclosure limitations set forth above for

information marked "CONFIDENTIAL," except that information marked "CONFlDENT1AL -­

ATTORNEYS' EYES ONLY" may not be disclosed under any circumstances to (1) the

Receiving Party or Parties or (2) witnesses (whether in preparation for deposition, hearing or tfiol

testimony or otherwise), absent written consent by the Producing Party. The only exception to

this prohibition is where the information specificaIJy reifttes to (a) that Party or employmt:nt

decisions directly addressing that Party, or (b) a Witness formally identified (by notice,

subpoena, or witness Iist submitted to the Court and opposing counsel) to testify                    a1   deposition.

trial or hearing, or to employment decisions directly addressing that Witness. Such permitted

disclosure of information designated "CONFIDENTlAL .• ATTORNEYS' EYES ONLY" to a

Paliy or Witness shall not modifY or diminish the effect of ~hat designation with respect to other

witnesses or uses,

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          10.      No\with!-lwnding any other provisions, nothing in this Order shafl prohibit counsel

for a party from disclosing a document                         01'   thing designated as "CONFlDENTlAL" or

"CONFIDENTIAL - ATTORNEYS' EYES ONLY" to any person whom the document or thing

clearly idcmilies as an author, addressee or carbon copy recipient of such document or thing,

suqject to said person agreeing in writing prior to the disclosure to maintain the confidentiality of

such document or thing, by completing and executing Exhibit "A" attached hereto. Regardless

of its designation, if a document or thing makes reference to the actual or alJeged conduct or

statements of a person, counsel may not show the person such document or thing unless the

person is otherwise entitled to see it pursuant to the terms of this Order, but may discuss s\lch

conduct or statements with             ~hl:l.t   person, provided that      ~uch   discussions do not directly or

indireclly disclose or reveal any portion of the document or thing other than that which

specifically refers to such conduct or statement.

          11.      Nothing herein shall impose any restrictions on the use or disclosure by a party of

documents, materials or information designated as "Confidential" or "Contidcntial- Attorneys'

Eyes Only" that were obtained                    lawj\'''I~i   by sllch party, independently of the discovery

proceedings ill this litigation.

          12.      Nothing herein shall preclude the use of documents, materials                   01'   information

designated "CONFIDENTIAL" or "CONFIDENTIAL                                   ATTORNEYS' EYES ONLY' by

counsel to locate or contact any potential witness or class memher, except to the extent

prohibited by     li'fW   or applicable ethical rules.

          13.      To tht: extent that any documents, infolmation, or things designated as

"CONFIDENTIAL" or "CONFIDENTIAL - ATTORNEYS' EYES ONL Y" are to be filed with

this   COUTt,   each such document and thing shall be filed under seal with the Clerk of this Court,

consistent with the Court's orders and federal and local rules. Where possibJe, only the portions

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of filings containing CONFIDENTIAL INFORMATJON shall be filed with the Court under seal.

To avoid the unnecessary filing of documents LInder seal, counsel for the parties may request

waiver of the sealing provisions of this Order from the Designating Party. If any

CONFlDENTIAL INFORMATION is filed with the Court under seal, then the party submitting

the CONFIDENTIAL INFORMA T10N shall file a public copy of the t1iing containing the

CONFIDENTIAL INFORMATION in redacted form.

           l4.   Subject to sllch orders as the Court may make, and subject to complilIDce wilh the

provisions of this Paragraph, nothing herein shall restrict the presentation of arguments,

statements, evidence, or testimony during a          COUlt   hearing or trial.    The treatment of

CONFIDENTIAL INFORMATION at trial or evidentiary hearing shall be the sUhject of further

meeting and conferring among the parties ilnd further Order of the    COUlt.


           15.   Tn the even! that a Party challenges the designation of infonnation, documents

and!or things as "CONflDENTIAL" and/or "CONFlDENTIAL                           ATTORNEYS' EYES

ONL Y," that Party mllst do so in good faith and will so notify the Designating Party or Parties in

writing. Upon the designation being contested, the Panil!s will negotiate in an attempt to resolve

lhe designation contest. If the Parties ctlnnot resolve the designation contest, the Party contesting

the designatiollunder this Order shall file a motion with this Court identifying with sjJccificity

both the information designated contidenlhll and the objection to the designation.               The

Designating Pat1Y shall then h<lVe the burden of showing that the document, information or thing

is designated appropriately. Notwithstanding any contest over a designation, the designation

shall be re!:lpected by all the Parties, and the information, dOCllments and/or things designated

"CONFIDENT1AL" and/or "CONfIDENTIAL - ArroRNEYS' EYES ONLY" shall not be

llsed in a manner inconsistent with their designation under this stipulated Order until the parties

readl an alternative <\greemen: or the Court orders otherwise.

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           16,   By entering into and/or complying with the terms of this stipulated Order, the

Parties do not intend to and are not:

                 (a)    admitting that any particular designated material constitutes, contains or

                        reflects trade secrets, proprietary or commercial information or other

                        confidential matter;

                 (b)    waiving the fight of any Party to object   \0   the production of documents or

                        infonnation it considers nol subject to discovery or to seek a determination

                        from the Couri whether particular designated material should be produced;

                 (c)    waiving the right of any Party 10 apply to the Court to rescind or modify

                        the terms of this Protective Order or to seek a further protective order;

                 (d)    waiving the righ1 of any Pal1y to use, or object to the use of, any

                        CO~FIDENTJAL       INfORMATION a1 any hearing or trial; or

                 (e)    waiving the right to object to the production or admission of such

                        CONFIDENTIAL INFORMATION.

           17,   This stipulated Order will be effective from the date on which it is signed by

counsel for the Paliies. Within sixty (60) days after the entry of" tinal non-appealable judgment

or order concluding the above-captioned action or the complete settlement of aU claims asserted

against all parties in this action, the Receiving Party shall return or dcslroy all documents,

information or thing it received that was designated "CONFIDENTIAL" or "CONfIDENTIAL­

ATTORNEYS' EYES ONLY." Counsel for the Receiving Party shall certify compliance with

this Section 17 within ninety (90) days after entry of the event triggering the aforementioned 60­

day requirement to des1roy or return such documents, infonnation or things. Counsel of record

may retain archival copies of papers filed with the Court, transcripts, work product, and

correspondence that include any CONFIDENTIAL INFORMAT10N, bllt if counsel retains su(;h

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information the c.:onf:dentiaJity obligations of this Order as it pertains to counsel shall continue in

effect with respect to such retained information.

             18.    The Parties and their counsel arc responsible for employing reasonable measures

to control, consistent with this ngreement, duplication of: access to, discussion of and distribution

of copies          of documents,     informatioll   OJ'   things   designated   "CONFIDENTIAL" or

"CONFIDENTIAL - ATTORNEYS' EYES ONLY," in accordam:e with the tenllS of !his

stipulated Order.

            If any provision in this document cannOl be carried out because it is in conflict with the

Court's rules and procedures, or federal or New York law, that provision will be waived.


Dated: New York, New Y k
       March 14,201



 By:

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DATED:                                SO ORDERED.




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